    Case 1:16-cv-04334-MHC-AJB Document 57 Filed 11/29/17 Page 1 of 6



                   IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

Deontae Brooks Inmate #1519880,    )
                                   )
     Plaintiff,                    )
v.                                 )         CIVIL ACTION FILE NO.
                                   )         1:16-CV-4334-MHC-AJB
Chief, Mark Adger, Ofc. T. Edwards;)
Ofc. F. Hollins(1137); Ofc.        )
Blaylock (990)                     )
                                   )
     Defendants.                   )
___________________________________)

      DEFENDANTS’ MOTION FOR EXTENSION OF DISCOVERY PERIOD

    COME NOW Defendants, Officers K. Edwards and F. Hollie, by

and through undersigned counsel, and hereby file this Motion to

Extend the Discovery Period for sixty (60) days pursuant to LR

26.2 (B), NDGa.   In support of their Motion, Defendants show the

following:

                                   1.

    Plaintiff filed suit against Defendants Chief Mark Adger,

Ofc. T. Edwards, Ofc. F. Hollins and Ofc. Blaylock [sic] on

November 21, 2016. (Doc. 1). On December 29, 2016, Plaintiff

filed an amended complaint against the named Defendants. (Doc.

8). Defendants Edwards and Hollie were served on June 5, 2017

and June 22, 2017, respectively, and timely filed an answer to

Plaintiff’s complaint. Defendant Blalock has yet to be served.




                                                                        1
      Case 1:16-cv-04334-MHC-AJB Document 57 Filed 11/29/17 Page 2 of 6



                                         2.

          On August 11, 2017, Defendants Edwards and Hollie requested

a four (4) month discovery period. (Docs. 34, 36). The motion

for   a     discovery    period   was   granted   on     August   16,    2017.   The

discovery period is scheduled to expire on December 1, 2017.

(Doc. 37).

                                         4.

          Defendants sent discovery requests to Plaintiff on October

30,       2017.    Plaintiff   timely   sent    his    responses,       which    were

received on November 22, 2017.

                                         5.

          Defendants deposed Plaintiff on November 28, 2017 pursuant

to    a    Court    Order.   (Doc.   52).   During     Plaintiff’s      deposition,

Plaintiff indicated that he needed additional time to produce

medical       records    and   documents       associated     with      Defendants’

Request for Production of Documents Nos. 6 and 7.

                                         6.

          Defendants    have   diligently      pursued    discovery;       however,

additional time is needed to complete discovery.

                                         7.

          Specifically, due to Plaintiff’s responses to Defendants’

interrogatories,         additional     depositions      of   named     individuals

currently incarcerated will need to be taken. Defendants need

the extension of time in order to depose the named individuals,

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    Case 1:16-cv-04334-MHC-AJB Document 57 Filed 11/29/17 Page 3 of 6



all of whom are currently incarcerated at the Fulton County

Jail.   The    scheduling      of       these     depositions            will    require

arrangement    with   the   Fulton      County       Jail    and    a    Court    Order.

Defendants will not be able to depose these individuals prior to

December 1, 2017, the close of the discovery period.

                                         8.

    Defendants     make     this    motion      in    good       faith    and    are   not

requesting    an   extension       of   time     to    delay       the    proceedings.

Furthermore,    Plaintiff     does      not     object      to    this    request      and

consents to an extension of the discovery period.

                                         9.

    WHEREFORE, based on the foregoing, Defendants respectfully

request that the Court grant their Motion for Extension of a

Discovery Period for sixty (60) days.



    Respectfully submitted, this 29th day of November 2017.


                       OFFICE OF THE FULTON COUNTY ATTORNEY

                       Patrise Perkins-Hooker
                       County Attorney
                       Georgia Bar No.231973

                       Kaye W. Burwell
                       Deputy County Attorney
                       Georgia Bar No. 775060

                       Ashley J. Palmer
                       Senior Attorney
                       Georgia Bar No. 603514


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    Case 1:16-cv-04334-MHC-AJB Document 57 Filed 11/29/17 Page 4 of 6



                      /s/ Michelle D. Arrington_________
                      Michelle D. Arrington
                      Georgia Bar No. 023808
                      Michelle.arrington@fultoncountyga.gov


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    Case 1:16-cv-04334-MHC-AJB Document 57 Filed 11/29/17 Page 5 of 6




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Blaylock (990)                     )
                                   )
     Defendants.                   )

                       CERTIFICATE OF SERVICE

The undersigned counsel certifies that the foregoing DEFENDANTS’

MOTION FOR EXTENSION OF DISCOVERY PERIOD has been prepared in

Courier New, 12 point type, as approved by the Court in L.R. 5.1(C)

and electronically filed with the Clerk of Court using the CM/ECF

system. Undersigned counsel further certifies that she will provide

mail notification to the pro se inmate plaintiff listed below:

                       Deontae Brooks #1519880
                          Fulton County Jail
                          901 Rice St., N.W.
                           Atlanta, GA 30318

     Respectfully submitted this 29th day of November, 2017.


                           /s/ Michelle D. Arrington_________
                           Michelle D. Arrington
                           Assistant County Attorney
                           Georgia Bar No. 023808
                           Michelle.arrington@fultoncountyga.gov

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    Case 1:16-cv-04334-MHC-AJB Document 57 Filed 11/29/17 Page 6 of 6



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